               Case 1:17-cv-09066-AKH Document 1 Filed 11/20/17 Page 1 of 19



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 JASON AGOSTO,


                                  Plaintiff,
                    -against-                               COMPLAINT


                                                            17 CV 9066
    NEW YORK CITY DEPARTMENT OF
    EDUCATION and MANUEL UREÑA,
    Principal of the High School of Art and Design,
                                                            JURY TRIAL DEMANDED
                                  Defendants.




          Plaintiff JASON AGOSTO, by and through his attorneys GLASS KRAKOWER LLP, as

and for his Complaint, alleges as follows:


                                    PRELIMINARY STATEMENT

          1.       Plaintiff brings this action seeking monetary and equitable relief based upon

Defendants’ violations of: 42 U.S.C. §1983 based on retaliation for First Amendment protected

speech and his union activities; Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e et

seq.; the New York State Human Rights Law (“NYSHRL”), N.Y. Exec. Law §§ 290 et seq.; and

the New York City Human Rights Law (“NYCHRL”), N.Y. Admin Code §§8-107.

          2.       The conduct complained of in this action involves retaliation, including the

issuance of less-than-effective performance evaluations, unwarranted letters to file, a

“Developing” Advance Overall Rating for the 2016-17 school year, and classification as a TIP

(Teacher in Need of Improvement) teacher, based on retaliatory actions taken against Plaintiff

                                                  1	
	
             Case 1:17-cv-09066-AKH Document 1 Filed 11/20/17 Page 2 of 19



since, inter alia, Plaintiff’s reporting of Defendant principal’s misconduct and his anti-union

animus.

        3.       Plaintiff further was the victim of a hostile work environment based on sexual

harassment by Defendant principal.

        4.       Plaintiff seeks economic, compensatory and punitive damages to the extent

allowable by law, and other appropriate legal and equitable relief pursuant to federal and state law.

                                        JURISDICTION AND VENUE

       5.        This Court has subject matter jurisdiction over these claims pursuant to 28 U.S.C.

§ 1331, as this matter involves federal questions.

       6.        This Court has the power to issue declaratory relief pursuant to 28 U.S.C. §§ 2201

and 2202. This Court has supplemental jurisdiction over Plaintiff’s state law claims under 28

U.S.C. § 1367(a).

       7.        This action’s venue properly lies in the United States District Court for the Southern

District of New York, pursuant to 28 U.S.C. § 1391, because a substantial part of the acts or

omissions giving rise to this action occurred in this District and Defendant is subject to personal

jurisdiction in this District.

                                              PARTIES

        8.       Plaintiff Jason Agosto is a resident of Queens County and the State of New York.

        9.       At all times relevant herein, Plaintiff was and is a “public employee” of Defendants

within the meaning of New York State Civil Service Law § 75-b(1)(b).

        10.      At all times relevant herein, Defendant New York City Department of Education

was a public employer within the meaning of New York State Civil Service Law § 75-b(1)(a).




                                                   2	
	
          Case 1:17-cv-09066-AKH Document 1 Filed 11/20/17 Page 3 of 19



        11.    At all times relevant herein, Defendant New York City Department of Education is

a city school district established pursuant to Title II, Article-52-A of the New York State Education

Law, NY Educ. Law Section 2590 et seq.

        12.    At all times relevant herein, Defendant Manuel Ureña was the principal of the High

School of Art and Design, a high school in Manhattan, New York, within the New York City

Department of Education.

                                   STATEMENT OF FACTS

        13.    Mr. Agosto is a history teacher within Defendant New York City Department for

Education (hereinafter “NYCDOE”) since 2000.

        14.    Since 2004, Mr. Agosto has taught at the High School for Art and Design

(hereinafter “the School”).

        15.    Mr. Agosto received tenure as a high school history teacher in or around October

2008.

        16.    Since the 2008-09 school year, Mr. Agosto served as the school delegate for his

union, the United Federal of Teachers (hereinafter “UFT”), at the School.

        17.    In 2011, Mr. Agosto was elected as UFT Chapter Leader at the School.

        18.    In or around January 2016, Defendant Manuel Ureña (hereinafter “Ureña”) became

Principal of the School.

        19.    Mr. Agosto had no prior disciplinary issues with the School’s administration prior

to Defendant Ureña’s arrival.

        20.    Shortly after his arrival, Mr. Agosto, as UFT Chapter Leader, became very

outspoken against Defendant Ureña’s actions and mistreatment of his colleagues.




                                                 3	
	
          Case 1:17-cv-09066-AKH Document 1 Filed 11/20/17 Page 4 of 19




              First Amendment Associational Anti-Union Animus and Retaliation

        21.     Mr. Agosto’s first speech on a matter of public concern as UFT Chapter Leader

occurred in or around May 2016, when he filed a grievance on behalf of his members against

Defendant Ureña for a violation of the UFT-DOE Collective Bargaining Agreement (hereinafter

“CBA”).

        22.     Specifically, Mr. Agosto filed a grievance based on Article 7, Section A, Paragraph

6 of the CBA, entitled “Professional Activity Options”, but also colloquially referred to as

“Circular 6” or “C-6”.

        23.     Circular 6 governs the professional or administrative activities that high school

teachers are required to perform on a yearly, weekly, and daily basis. The section provides 16

different activities that teachers can be required to perform.

        24.     If a school administration wishes to modify these 16 different activities

(colloquially and hereinafter referred to as “the menu”), the principal must propose it as a School-

Based Option (hereinafter “SBO”) to the UFT Chapter Leader of the high school.

        25.     If the Chapter Leader approves the SBO, it is then put to a vote to the teachers at

the school.

        26.     If a majority of the teachers approve the SBO, the SBO then comes into effect for

the upcoming school year.

        27.     The SBO is only good for one year, so if it is not renewed, the menu automatically

reverts to the default.

        28.     A Circular 6 violation occurs when a principal implements an SBO in violation of

the aforementioned voting procedures.


                                                  4	
	
            Case 1:17-cv-09066-AKH Document 1 Filed 11/20/17 Page 5 of 19



       29.      According to the CBA, a chapter leader and school principal are supposed to meet

on or before April 15 in order to confirm what C-6 activities will be offered to teachers beyond the

16 that are on the menu.

       30.      In practice, this meeting is supposed to take place after the UFT Chapter Leader

and principal have had initial discussions and after the Chapter Leader has conferred with the

chapter committee.

       31.      During the 2015-16 school year, Mr. Agosto did not meet with Defendant Ureña,

until May 2, 2016. The reason this meeting occurred after April 15 is because in prior years the

school administration had never relied upon April 15 as the hard deadline and instead had engaged

in on-going collaboration with the Chapter Leaders.

       32.      However, when Mr. Agosto met with Defendant Ureña on May 2, 2016, Defendant

Ureña presented a proposed SBO to him.

       33.      In response, Mr. Agosto informed Defendant Ureña that he would need to consult

with the chapter committee in order to discuss the proposed SBO. Defendant Ureña agreed and

said that he and Mr. Agosto would meet after Mr. Agosto had met with the chapter committee.

       34.      Unfortunately, Defendant Ureña did not stand true to his word and issued a menu

on May 12, 2016, that reflected an SBO without following the procedures.

       35.      As a result, Mr. Agosto filed a grievance as UFT Chapter Leader on or about May

13, 2016.

       36.      On or about May 20, 2016, Mr. Agosto met with Defendant Ureña for a Step 1

Grievance Hearing. Defendant Ureña denied the grievance.




                                                 5	
	
          Case 1:17-cv-09066-AKH Document 1 Filed 11/20/17 Page 6 of 19



       37.     On May 27, 2016, Mr. Agosto submitted a grievance on behalf of the teachers at

the School requesting access to a number of fiscal-related documents for the years 2011-2014. The

grievance was denied by Defendant Ureña.

       38.     In retaliation for filing these grievances, Principal Ureña and his administration

began issuing Mr. Agosto letters to file and negative performance evaluations. Specifically, Mr.

Agosto received:

                           a. An unwarranted disciplinary letter issued on May 27, 2016;

                           b. A less than effective performance review on May 31, 2016;

                           c. A second unwarranted letter issued on June 10, 2016.

       39.     Additionally, Mr. Agosto received a “Developing” Advance Overall Rating for

2015-16, and was placed on a Teacher Improvement Plan (hereinafter “TIP”) for the 2016-17

school year.

       40.     On June 28, 2016, Mr. Agosto’s Step II Grievance Hearing took place. The

grievance was denied by a representative of the Chancellor of the NYCDOE.

       41.     In denying the Step II Grievance, the Chancellor’s Representative improperly

focused on whether the chapter committee should have been consulted, which was not the issue.

       42.     After the 2015-16 school year, Defendant Ureña implemented the SBO without

ratification by the teachers.

                    Continued Retaliation During The 2016-17 School Year

       43.     Defendant Ureña continued to retaliate against and harass Mr. Agosto during the

2016-17 school year

       44.     Because of his “Developing” Advance Overall Rating, Mr. Agosto was compelled

to meet with Defendant Ureña for TIP meetings in September 2016.



                                                6	
	
         Case 1:17-cv-09066-AKH Document 1 Filed 11/20/17 Page 7 of 19



       45.    Initially, Mr. Agosto attended these meetings with his colleague, Lorraine Liriano.

       46.    During these meetings, Defendant Ureña would consistently take an aggressive and

abusive tone with Mr. Agosto.

       47.    In mid-October 2016, during a TIP meeting, Defendant Ureña became

exceptionally aggressive towards Mr. Agosto. Realizing that Ms. Liriano could serve as a witness

to corroborate his aggression towards Mr. Agosto, following the mid-October 2016 TIP meeting,

Defendant Ureña directed Mr. Agosto to attend the TIP meetings separately from Ms. Liriano.

       48.    Defendant Ureña also continuously issued Mr. Agosto negative performance

evaluations during the 2016-17 school year in retaliation for his protected activity and later in

retaliation for Mr. Agosto claiming that Defendant Ureña sexually harassed him. Specifically, Mr.

Agosto received:

                          a. A less than effective performance review on October 14, 2016;

                          b. A less than effective performance review on December 12, 2016;

                          c. A less than effective performance review on March 17, 2017;

                          d. A less than effective performance review on April 21, 2017.

       49.    In response to Defendant Ureña’s retaliatory behavior, Mr. Agosto filed an Article

23 special harassment complaint against Defendant Ureña on or about December 19, 2016, with

Alice O’Neil, UFT Manhattan High School District Representative.

                   Hostile Work Environment Due to Sexual Harassment

       50.    As the 2016-17 school year progressed, Defendant Ureña became progressively

more aggressive towards Mr. Agosto during the TIP meetings.

       51.    On January 20, 2017, during a mandated weekly TIP meeting, Defendant Ureña

became extremely livid and aggressive towards Mr. Agosto.



                                               7	
	
         Case 1:17-cv-09066-AKH Document 1 Filed 11/20/17 Page 8 of 19



       52.     In response to Mr. Ureña’s aggressive behavior, Mr. Agosto told Defendant Ureña

that he was uncomfortable with the way he was being treated.

       53.     Rather than cease his aggressive behavior, Defendant Ureña proceeded to pick up

a lollipop from his conference table and offer it to Mr. Agosto in an attempt to emasculate and

humiliate Mr. Agosto.

       54.       Mr. Agosto, in response, asked Defendant Ureña to please not offer him candy.

       55.     Defendant Ureña then proceeded to unwrap the lollipop and make sexual sucking

gestures with the lollipop, while staring at Mr. Agosto in a manner that made Mr. Agosto extremely

uncomfortable.

       56.     Aghast at Mr. Ureña’s behavior, Mr. Agosto recoiled away from Defendant Ureña

and told him that he was acting extremely unprofessionally.

       57.     Defendant Ureña then called in his secretary, Darlene Hart, and asked her to make

a written statement documenting that Defendant Ureña had offered Mr. Agosto a lollipop and Mr.

Agosto had acted in an erratic fashion in his reaction to Defendant Ureña’s offer.

       58.     Ms. Hart then remained for the remainder of the TIP meeting.

       59.     Mr. Agosto reported Defendant Ureña’s unwanted sexual behavior to UFT District

Representative Alice O’Neal shortly after it occurred.

       60.     On or about March 16, 2017, Mr. Agosto filed a complaint of discrimination with

the Equal Employment Opportunity Commission based on sexual harassment.

                   Retaliation During Remainder of the 2016-17 School Year

       61.     On or about January 25, 2017, Mr. Agosto complained to Sari Perez, the School’s

Assistant Principal of Organization (hereinafter “APO”), that students were working in the faculty

waiting room while teachers were waiting to proctor the Regents Examination. Mr. Agosto felt



                                                8	
	
         Case 1:17-cv-09066-AKH Document 1 Filed 11/20/17 Page 9 of 19



this was improper because the students were supposed to be separated from Regents Examination

proctors prior to the examination and the teachers were finalizing their grades of their students.

       62.     Shortly thereafter, also on or about January 25, 2017, Defendant Ureña stormed

into Mr. Agosto’s classroom in the presence of teachers George Zicopolous and Betina Marks.

Defendant Ureña proceeded to belligerently scream at Mr. Agosto, stating that Mr. Agosto cannot

tell the APO what to do and only he, as principal, can issue such directives. Defendant Ureña’s

conduct made Mr. Zicopolous and Ms. Marks so uncomfortable that Ms. Marks left the classroom

and Mr. Zicopolous stood and tried to mediate the conversation.

       63.     On January 31, 2017, Mr. Agosto reported improper behavior by Defendant Ureña

and the administration to the offices of the Chancellor, the UFT, and the Special Commissioner of

Investigation. Specifically, in December 2016, Assistant Principal Joan Weaver met with a

probationary teacher and informed the teacher that she had been directed by Defendant Ureña to

gather information about which teachers are active participants in union activity. Ms. Weaver

purportedly sought to extract information from this probationary teacher.

       64.     On February 3, 2017, during another TIP meeting with Defendant Ureña, Mr.

Agosto informed Defendant Ureña that he considered Defendant Ureña’s conduct at the January

20, 2017 TIP meeting in which he offered Mr. Agosto a lollipop to be sexual harassment.

       65.     In response, Defendant Ureña reassigned Mr. Agosto to meet with AP Lyn Rosales

for his TIP meetings.

       66.     In or around March and April 2017, Mr. Agosto filed three Improper Practice

Charges with the New York State Public Employment Relations Board (hereinafter “PERB”)

regarding Defendant Ureña’s retaliatory conduct towards him and as Chapter Leader regarding

Defendant Ureña’s violation of the CBA generally towards the teachers of the School.



                                                 9	
	
        Case 1:17-cv-09066-AKH Document 1 Filed 11/20/17 Page 10 of 19



       67.     On May 8, 2017, Dwayne Clark, the UFT Manhattan Borough Representative,

issued Mr. Agosto a letter indicating that his Article 23 complaint was approved for a Step 1

grievance.

       68.     On May 18, 2017, the investigation pursuant to the Article 23 complaint took place

at the School. UFT Special Representative Don Albright and Chancellor Representative Alan

Lichtenstein conducted the investigation. As part of the investigation, many teachers and

administrators were interviewed.

       69.     As a resolution to the Article 23 complaint, Mr. Agosto requested that Defendant

Ureña be prohibited from observing and rating him.

       70.     On June 22, 2017, UFT Special Representative Don Albright informed Mr. Agosto

via email that his Article 23 was moving to the Second Step.

       71.     In retaliation, Principal Ureña issued Mr. Agosto a frivolous disciplinary letter

dated June 27, 2017.

       72.     Plaintiff ultimately received a “Developing” Measures of Teacher Performance

(hereinafter “MOTP”) for the 2016-17 school year.

       73.     Fortunately, Mr. Agosto received an “Effective” for his Measures of Student

Learning (“MOSL)”, thus resulting in him receiving an “Effective” Advance Overall Rating for

the 2016-17 school year.

       74.     As a result, Mr. Agosto was no longer considered a TIP teacher for the 2017-18

school year.

                   Continued Retaliation During the 2017-18 School Year

       75.     On September 4, 2017, the day before the new school year began, Defendant

Ureña emailed Mr. Agosto stating that due to the “false accusations” made by Mr. Agosto,



                                               10	
	
         Case 1:17-cv-09066-AKH Document 1 Filed 11/20/17 Page 11 of 19



Defendant Ureña, going forward, would require his APs to be present during the consultation

committee meetings with Mr. Agosto and teachers.

       76.     Notably, pursuant to the CBA, a principal is prohibited from bringing

administrators to consultation committee meetings unless the committee agrees to allow it.

       77.     Mr. Agosto informed Defendant Ureña that his mandate violated the CBA.

       78.     Despite Mr. Agosto’s objection, Defendant Ureña brought his APs to the first

consultation committee meeting on or about September 28, 2017.

       79.     In response, Mr. Agosto and the teachers informed Defendant Ureña that he was

violating the CBA and walked out of the meeting.

       80.     Continuing his pattern of retaliation against Mr. Agosto, Defendant Ureña

observed Mr. Agosto on or about October 5, 2017. During the post-observation conference on

October 13, 2017, Defendant Ureña informed Mr. Agosto that he would be receiving a less than

effective observation report.

       81.     Defendant Ureña also issued Mr. Agosto an unwarranted letter to file on October

23, 2017.

       82.     To date, Defendant Ureña has failed to cease his hostile, retaliatory, and harassing

conduct towards Mr. Agosto.

       83.     Mr. Agosto continues to teach under Defendant Ureña’s administration.

       84.     Mr. Agosto received a Notice of Right to Sue letter from the Equal Employment

Opportunity Commission dated August 31, 2017. A copy of Mr. Agosto’s Notice of Right to

Sue letter is annexed hereto as Exhibit A.




                                                11	
	
          Case 1:17-cv-09066-AKH Document 1 Filed 11/20/17 Page 12 of 19



                                   FIRST CLAIM FOR RELIEF

    (Retaliation Pursuant to 42 U.S.C. Section 1983 for First Amendment Protected Speech)

         85.     Plaintiff repeats and realleges the allegations set for in the preceding paragraphs, as

if fully set herein.

         86.     While acting under the color of State Law, Defendants violated Plaintiff’s First

Amendment rights pursuant to 42 U.S.C. Section 1983 rights by retaliating against him for

exercising his freedom of speech as a citizen with regard to raising questions as the School’s union

Chapter Leader about the violation of the United Federation of Teacher’s Collective Bargaining

Agreement. As a result, Plaintiff was subjected to a retaliatory hostile work environment, including

the issuance of less-than-effective performance evaluations, unwarranted letters to file, a

“Developing” Advance Overall Rating, and classification as a TIP teacher.

         87.     As a proximate result of Defendants’ retaliatory actions against Plaintiff, Plaintiff

suffers and continue to suffer humiliation, severe emotional distress, mental and physical anguish

and suffering, physical consequences of severe emotional distress and damage to his professional

reputation, in an amount to be determined at trial.

                                 SECOND CLAIM FOR RELIEF

               (Retaliation Against Plaintiff for Exercising Freedom of Association
                       In Violation of Plaintiff’s First Amendment Rights)

         88.     Plaintiff repeats and realleges the allegations set for in the preceding paragraphs, as

if fully set herein.

         89.     While acting under the color of State Law, Defendants violated Plaintiff’s 42

U.S.C. Section 1983 rights of association and participating in a union under the First Amendment

by retaliating against him for exercising his freedom of speech as a citizen with regard to raising

questions as the School’s union Chapter Leader about the violation of the United Federation of

                                                   12	
	
           Case 1:17-cv-09066-AKH Document 1 Filed 11/20/17 Page 13 of 19



Teacher’s Collective Bargaining Agreement. As a result, Plaintiff was subjected to a retaliatory

hostile work environment, including the issuance of less-than-effective performance evaluations,

unwarranted letters to file, a “Developing” Advance Overall Rating, and classification as a TIP

teacher.

        90.     As a proximate result of Defendants’ retaliatory actions against Plaintiff, Plaintiff

suffers and continue to suffer humiliation, severe emotional distress, mental and physical anguish

and suffering, physical consequences of severe emotional distress and damage to his professional

reputation, in an amount to be determined at trial.



                                  THIRD CLAIM FOR RELIEF

    (Against Defendant NYCDOE for Violation of Title VII – Hostile Work Environment
                           Based on Sexual Harassment)

        91.     Plaintiff repeats and realleges the allegations set for in the preceding paragraphs, as

if fully set herein.

        92.     Defendant Ureña engaged in unwanted sexual harassment of Plaintiff on or about

January 20, 2017.

        93.     After Plaintiff reported Defendant Ureña’s conduct to the Equal Employment

Opportunity Commission, Defendant NYCDOE failed to take appropriate remedial action,

including the removal of Defendant Ureña from the School.

        94.     Defendant NYCDOE’s failure to adequately address Defendant Ureña’s sexual

harassment has created a severe and humiliating hostile work environment.

        95.     Defendant Ureña’s offensive, severe and humiliating actions—and Defendant

NYCDOE’s failure to address Defendant Ureña’s actions—have caused Plaintiff to feel anxiety,




                                                  13	
	
            Case 1:17-cv-09066-AKH Document 1 Filed 11/20/17 Page 14 of 19



depression, lowered self-esteem, self-worth, and self-confidence, and other forms of emotional

distress.

        96.      Defendant Ureña’s offensive, severe and humiliating actions—and Defendant

NYCDOE’s failure to address Defendant Ureña’s actions—have affected Plaintiff’s work

performance.

        97.      Plaintiff has suffered irreparable injury and damages for mental anguish and

humiliation as a result of the conduct complained of herein.

                                 FOURTH CLAIM FOR RELIEF

              (Against Defendant NYCDOE for Violation of Title VII – Retaliation)

        98.      Plaintiff repeats and realleges all the preceding paragraphs of this Complaint, as if

fully set forth herein.

        99.      After reporting Defendant Ureña’s actions to the Equal Employment Opportunity

Commission, and after expressing his desire that Defendant NYCDOE address Defendant Ureña’s

conduct, Defendant NYCDOE retaliated against Plaintiff in the form of issuance of less-than-

effective performance evaluations, unwarranted letters to file, as well as a hostile work

environment based on the continued harassment by Defendant Ureña.

        100.     As a proximate result of Defendant NYCDOE’s retaliatory actions against Plaintiff,

Plaintiff suffers and continue to suffer humiliation, severe emotional distress, mental and physical

anguish and suffering, physical consequences of severe emotional distress and damage to his

professional reputation, in an amount to be determined at trial.



                                  FIFTH CLAIM FOR RELIEF

    (Claims against all Defendants for Violation of NYSHRL – Hostile Work Environment)



                                                  14	
	
          Case 1:17-cv-09066-AKH Document 1 Filed 11/20/17 Page 15 of 19



        101.    Plaintiff repeats and realleges the allegations set for in the preceding paragraphs, as

if fully set herein.

        102.    Defendant Ureña engaged in unwanted sexual harassment of Plaintiff on or about

January 20, 2017.

        103.    After Plaintiff reported Defendant Ureña’s conduct to the U.S. Equal Employment

Opportunity Commission, Defendants failed to take appropriate remedial action, including the

removal of Defendant Ureña from the School.

        104.    Defendants’ failure to adequately address Defendant Ureña’s sexual harassment

has created a severe and humiliating hostile work environment.

        105.    Defendant Ureña’s offensive, severe and humiliating actions—and Defendants’

failure to address Defendant Ureña’s actions—have caused Plaintiff to feel anxiety, depression,

lowered self-esteem, self-worth, and self-confidence, and other forms of emotional distress.

        106.    Defendant Ureña’s offensive, severe and humiliating actions—and Defendant

NYCDOE’s failure to address Defendant Ureña’s actions—have affected Plaintiff’s work

performance.

        107.    Plaintiff has suffered irreparable injury and damages for mental anguish and

humiliation as a result of the conduct complained of herein.

                                  SIXTH CLAIM FOR RELIEF

     (Individual Claims against all Defendants for Violation of NYSHRL – Retaliation)

        108.    Plaintiff repeats and realleges all the preceding paragraphs of this Complaint, as if

fully set forth herein.

        109.    After reporting Defendant Ureña’s actions to the U.S. Equal Employment Opportunity

Commission, and after expressing his desire that Defendant NYCDOE address Defendant Ureña’s

conduct, Defendants retaliated against Plaintiff in form of issuance of less-than-effective

                                                  15	
	
          Case 1:17-cv-09066-AKH Document 1 Filed 11/20/17 Page 16 of 19



performance evaluations, unwarranted letters to file, as well as a hostile work environment based

on the continued harassment by Defendant Ureña.

        110.    As a proximate result of Defendants’ retaliatory actions against Plaintiff, Plaintiff

suffers and continue to suffer humiliation, severe emotional distress, mental and physical anguish

and suffering, physical consequences of severe emotional distress and damage to his professional

reputation, in an amount to be determined at trial.

                                SEVENTH CLAIM FOR RELIEF

    (Claims against all Defendants for Violation of NYCHRL – Hostile Work Environment)

        111.    Plaintiff repeats and realleges the allegations set for in the preceding paragraphs, as

if fully set herein.

        112.    Defendant Ureña engaged in unwanted sexual harassment of Plaintiff on or about

January 20, 2017.

        113.    After Plaintiff reported Defendant Ureña’s conduct to the U.S. Equal Employment

Opportunity Commission, Defendants failed to take appropriate remedial action, including the

removal of Defendant Ureña from the School.

        114.    Defendants’ failure to adequately address Defendant Ureña’s sexual harassment

has created a severe and humiliating hostile work environment.

        115.    Defendant Ureña’s offensive, severe and humiliating actions—and Defendants’

failure to address Defendant Ureña’s actions—have caused Plaintiff to feel anxiety, depression,

lowered self-esteem, self-worth, and self-confidence, and other forms of emotional distress.

        116.    Defendant Ureña’s offensive, severe and humiliating actions—and Defendants’

failure to address Defendant Ureña’s actions—have affected Plaintiff’s work performance.

        117.    Plaintiff has suffered irreparable injury and damages for mental anguish and

humiliation as a result of the conduct complained of herein.

                                                  16	
	
         Case 1:17-cv-09066-AKH Document 1 Filed 11/20/17 Page 17 of 19



                                EIGHTH CLAIM FOR RELIEF

     (Individual Claims against all Defendants for Violation of NYCHRL – Retaliation)

        118.    Plaintiff repeats and realleges all the preceding paragraphs of this Complaint, as if

fully set forth herein.

        119.    After reporting Defendant Ureña’s actions to the U.S. Equal Employment Opportunity

Commission, and after expressing his desire that Defendants address Defendant Ureña’s conduct,

Defendants retaliated against Plaintiff in form of issuance of less-than-effective performance

evaluations, unwarranted letters to file, as well as a hostile work environment based on the

continued harassment by Defendant Ureña.

        120.    As a proximate result of Defendants’ retaliatory actions against Plaintiff, Plaintiff

suffers and continue to suffer humiliation, severe emotional distress, mental and physical anguish

and suffering, physical consequences of severe emotional distress and damage to his professional

reputation, in an amount to be determined at trial.

                                         JURY DEMAND

        121.    Plaintiff demands a trial by jury.

                               PRAYER/DEMAND FOR RELIEF

WHEREFORE, Plaintiff demands judgment in his favor against Defendants as follows:

            On Plaintiff’s First Claim for Relief - Retaliation against Plaintiff for exercising

        freedom of speech in violation of Plaintiff’s’ First Amendment rights pursuant to 42 U.S.C.

        Section 1983, damages in the amount to be determined at trial;

            On Plaintiff’s Second Claim for Relief – Retaliation in violation of Plaintiff’s’ First

        Amendment Right of Freedom of Association pursuant to 42 U.S.C. Section 1983,

        damages in an amount to be determined at trial;



                                                     17	
	
        Case 1:17-cv-09066-AKH Document 1 Filed 11/20/17 Page 18 of 19



           On Plaintiff’s Third Claim for Relief – Hostile Work Environment in violation of Title

       VII, damages in an amount to be determined at trial;

           On Plaintiff’s Fourth Claim for Relief – Retaliation in violation of Title VII, damages

       in an amount to be determined at trial;

           On Plaintiff’s Fifth Claim for Relief – Hostile Work Environment in violation of the

       NYSHRL, damages in an amount to be determined at trial;

           On Plaintiff’s Sixth Claim for Relief – Retaliation in violation of the NYSHRL,

       damages in an amount to be determined at trial;

           On Plaintiff’s Seventh Claim for Relief – Hostile Work Environment in violation of

       the NYCHRL, damages in an amount to be determined at trial;

           On Plaintiff’s Eighth Claim for Relief – Retaliation in violation of the NYSHRL,

       damages in an amount to be determined at trial;

On all Claims of Relief:

           Judgment declaring that Defendants’ acts violated Plaintiff’s rights as secured by

       federal and state law prohibiting retaliation in employment;

           Enjoining Defendants from any further acts adversely affecting the terms and

       conditions of employment including compensation and privileges;

           Ordering that any negative evaluations and letters to file be rescinded and declared null

       and void and removed from Plaintiff’s Personnel File;

           Compensatory damages to compensate Plaintiff for economic loss, damage to name,

       profession, career and reputation, pain and suffering, emotional distress and mental

       anguish, embarrassment, indignity in an amount to be determined at trial;

           Punitive damages against all of the Defendants (to the extent allowable by law);



                                                 18	
	
     Case 1:17-cv-09066-AKH Document 1 Filed 11/20/17 Page 19 of 19



         Attorneys’ fees, interest, costs and disbursements; and

         For such other and further legal, equitable or other relief the court deems just and

    proper.



DATED:        New York, New York
              November 20, 2017

                                                          GLASS KRAKOWER LLP
                                                          100 Church Street, Suite 800
                                                          New York, NY 10007
                                                          (212) 537-6859


                                                   By:    /s: Bryan D. Glass
                                                          BRYAN D. GLASS, Esq.




                                             19	
	
